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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


KORDELL T. SHARP,                               :

       Petitioner,                              :

vs.                                             : CIVIL ACTION NO. 09-0188-CG-C

UNITED STATES OF AMERICA,                       : CRIMINAL ACTION NO. 06-0176-CG

                                                :
       Respondent.


                                            ORDER

       After due and proper consideration of all portions of this file deemed relevant to the

issues raised, and there having been no objections filed, the recommendation of the Magistrate

Judge made under 28 U.S.C. § 636(b)(l)(B) and dated August 7, 2009 is ADOPTED as the

opinion of this Court.

       DONE and ORDERED this 3rd day of September, 2009.


                                                  /s/ Callie V. S. Granade
                                             CHIEF UNITED STATES DISTRICT JUDGE
